          Case 2:11-cr-00073-RHW               ECF No. 176                filed 04/11/12              PageID.603 Page 1 of 1
O PS 8
(12/04)


                              UNITED STATES DISTRICT COURT
                                                                  «16768»
                                                                       for
                                              Eastern District of Washington


 U.S.A. vs.                  Kenneth Mark Price                                        Docket No.                2:11CR00073-001

                                Petition for Action on Conditions of Pretrial Release

         COMES NOW Erik Carlson, pretrial services officer, presenting an official report upon the conduct of defendant
Kenneth Mark Price, who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno, sitting in the
court at Spokane, Washington, on the 29th day of August 2011, under the following conditions:

Condition #1: Defendant shall not commit any offense in violation of Federal, state or local law. Defendant shall advise
the supervising pretrial services officer and defense counsel within 1 business day of any charge, arrest, or contact with
law enforcement.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                     (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: The defendant has been charged with new law violations.

Violation #2: The defendant failed to notify his supervising U.S. Probation officer of law enforcement contact and
pending charges.

                    PRAYING THAT THE COURT WILL ORDER A WARRANT OR SUMMONS

                                                                                          I declare under penalty of perjury that
                                                                                          the foregoing is true and correct.
                                                                                          Executed on:        04/11/2012
                                                                                 by       s/Erik Carlson
                                                                                          Erik Carlson
                                                                                          U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [; ]     The Issuance of a Summons
 [ ]      Other
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                                                                                             Signature of Judicial Officer
                                                                                              
                                                                                             Date
